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                          Exhibit 2
     (Total Compensation and Expenses Requested)
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                                                               Total Compensation and Expenses Requested

Professional Firm                    Category                Hours             Fees                          Expenses                 Total Billed
Stumphauzer Foslid Sloman Ross &
Kolaya, PLLC                         Attorneys                        888.3                    $291,543.50                 $884.12                    $292,427.62
Pietragallo Gordon Alfano Bosick &
Raspanti, LLP                        Attorneys                       2,279.0                   $508,620.50               $84,171.81                    $592,792.31
Development Specialists, Inc.        Operations Consultant           3,010.9                 $1,318,257.50               $36,003.46                  $1,354,260.96
Lawgical Insight, LLC                eDiscovery Specialist             146.8                    $47,693.75                $1,000.00                     $48,693.75
HD Investigative Group, LLC          Investigations Firm               163.8                    $36,843.75                    $0.00                     $36,843.75
Fox Rothschild                       Attorneys                          69.0                    $25,235.00                    $0.00                     $25,235.00
                                                                     6,557.8                 $2,228,194.00              $122,059.39                  $2,350,253.39
